     Case 5:19-cv-00729-SLP Document 31 Filed 09/29/20 Page 1 of 2




  Plaintiff Alan R Melvin responding to case
 number 19-CV-729-SLP.                                             FILED
                                                                     SEP 2 92020
                                                            CARMEUTA REEDER SHINN,CLERK
                                                           U.S.DIST. COURT,WESTERN DIST. OKLA
                                                           BY.                        DEPUTY
Tve recently received emails from the
defendant attorney Susie M Holland. Stating
am failing to prosecute or comply with court
orders! I strongly dis^ree to that statement!
Tve been trying to3usie Holland a few weeks
from now! Still yet to hear back from her to
discuss my case. Pve been searching for
counseling in wasn't able to find attorney to
represent me between the deadlines that was
given by the court.Pm doing the best I can do
at this moment to prosecute my case. I am a
fulltime employee at Sleep number beds. In a
father of 6! Due to the pandemic my schedule
is very tight. It would be very appreciate if the
court could bear with me through this
pandemic. Due to the deadlines I have no other
choice but to represent myself. I Plaintiff Alan R
    Case 5:19-cv-00729-SLP Document 31 Filed 09/29/20 Page 2 of 2




Melvin agreed to proceed his case on the
behalf of himself.



                                 9-29
